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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 DONALD J. TRUMP; THE TRUMP
 ORGANIZATION, INC.; TRUMP
 ORGANIZATION LLC; THE TRUMP
 CORPORATION; DJT HOLDINGS LLC;
 THE DONALD J. TRUMP REVOCABLE                           Civil Action No. 1:19-cv-01136-APM
 TRUST; and TRUMP OLD POST OFFICE
 LLC,
                             Plaintiffs,

 v.

 MAZARS USA LLP,
                                       Defendant,

 and

 COMMITTEE ON OVERSIGHT AND
 REFORM OF THE U.S. HOUSE OF
 REPRESENTATIVES,
                    Intervenor-Defendant.


                                      NOTICE OF APPEAL
        Plaintiffs (Donald J. Trump; The Trump Organization, Inc.; Trump Organization LLC; The

Trump Corporation; DJT Holdings LLC; The Donald J. Trump Revocable Trust; and Trump Old

Post Office LLC) hereby appeal to the U.S. Court of Appeals for the D.C. Circuit all aspects of this

Court’s order and opinion from May 20, 2019, which overruled Plaintiffs’ objections to Rule 65(a)(2)

consolidation, treated the parties’ preliminary-injunction filings as cross-motions for summary

judgment, entered final judgment against Plaintiffs, and denied Plaintiffs’ request for a stay pending

appeal. See Dkt. 36; 35.
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                                                    Respectfully submitted,

 Dated: May 21, 2019                                 s/ William S. Consovoy

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                                  CERTIFICATE OF SERVICE
        I certify that on May 21, 2019, I filed this notice via the CM/ECF system, which will notify all

counsel in this case.
